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                                                                       Ex. B-3
                                 August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD) (SN)

                                                   (Alphabetically by Last Name of 9/11 Decedent)

                                        DECEDENT                                               Non-Economic
                         DECEDENT                     DECEDENT Last   Suffix     Economic                      TOTAL Damage
                                         Middle                                                  Damage
                         First Name                       Name        Name     Damage Amount                      Amount
                                          Name                                                   Amount

                   1.    Raymond                         Sanchez                               $2,000,000.00     $2,000,000.00



                        TOTALS                                                                 $2,000,000.00     $2,000,000.00




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